                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA, )
                          )
         Plaintiff,       )
                          ) Civil Action No. 1:20-cv-01744-CFC
    v.
                          )
WALMART INC. AND WAL-MART )
STORES EAST, LP,          )
                          )
         Defendants.      )
                          )

                           JOINT STATUS REPORT

      Pursuant to the Court’s November 19, 2021, Order (D.I. 59), the parties

hereby submit this Joint Status Report.

I.    Post Ruan and Kahn Status Update

      Following the United States Supreme Court’s resolution of Ruan v. United

States and Kahn v. United States, 2022 WL 2295024 (Jun. 27, 2022) (Ruan), the

parties met and conferred on July 5, 2022. The parties disagree regarding

appropriate next steps in light of the Ruan decision. Their respective positions are

set forth below.

      A.     Walmart’s Position

      In light of Ruan, Walmart believes the United States should voluntarily

dismiss its First and Second Claims for Relief. First, Ruan held that doctors are

not liable under 21 U.S.C. § 841(a) unless they “knowingly” issue invalid


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prescriptions, and the Court called that a “strong scienter requirement” that the

United States could not evade or substitute for a negligence test. ___ S. Ct. ___,

2022 WL 2295024, at *1, *8 (2022). Section 1306.04(a) includes the same

“knowingly” element for pharmacist liability, yet the Complaint repeatedly tries to

bypass that scienter requirement in ways that Ruan confirmed are impermissible.

Second, Justice Alito’s concurrence—in a portion the majority did not dispute—

confirms that mere deviations from objective professional norms are not sufficient

to fall outside Section 1306.06’s “usual course” test; instead the pharmacist must

cease acting as one at all, such as by pursuing objectives “alien” to the profession.

Id. at *15. Regardless of whether that standard is viewed as an objective test, a

subjective test, or both, the Complaint does not come close to satisfying it, through

“circumstantial evidence” or otherwise. See id. at *9.

      The United States refused Walmart’s request to voluntarily dismiss its First

and Second Claims for Relief. Walmart therefore suggested the parties request that

the Court set a supplemental briefing schedule in light of Ruan with respect to

Walmart’s pending Motion to Dismiss (D.I. 26). Walmart would file its

supplemental brief by August 1, 2022. The United States would respond by

August 22, 2022. And Walmart would file a reply by September 2, 2022.

      With respect to the United States’ proposal below to file an Amended

Complaint, Walmart maintains that the existing Complaint is legally deficient and


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should be dismissed. Through the meet-and-confer process to prepare this Joint

Status Report, the United States has not informed Walmart—after more than five

years of investigation by the Justice Department—what new factual allegations or

legal theories it intends to assert in an Amended Complaint in an effort to shore up

these deficiencies following the Ruan decision. For that reason, Walmart submits

it must review the United States’ draft Amended Complaint before taking a

position about whether or not Walmart would oppose its filing. The United States

proposes a schedule below for seeking leave to amend its Complaint. Walmart

proposes the alternative following schedule if the Court permits the United States

to seek leave to file an Amended Complaint:

             1.    Within 21 days of the Court’s entry of an order in response to

                   this Joint Status Report, the United States will share a draft of

                   its proposed Amended Complaint with Walmart;

             2.    Once the United States shares a draft of its proposed Amended

                   Complaint, the parties shall have 14 days to meet and confer on

                   whether Walmart will provide written consent to its filing under

                   Fed. R. Civ. P. 15(a)(2);

             3.    Within five days of the conclusion of the parties’ meet and

                   confer, if Walmart declines to provide written consent to the




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                    amendment, the United States shall file a motion for leave to

                    amend its Complaint.

        B.    The United States’ Position

        The United States disagrees with Walmart’s interpretation of Ruan and its

view of how that decision applies to the Complaint. The United States summarizes

below its disagreement and its proposed next steps.

        The majority in Ruan, while interpreting a criminal provision (21 U.S.C.

§ 841(a)) that is not at issue in this case, nevertheless clarified some principles

relevant in this civil case in ways that support the United States’ position. It held

that the core standards at issue in Sections 1306.04 and 1306.06—the “usual

course of professional practice” and “legitimate medical purpose”—are “objective

criteria.” 2022 WL 2295024, at *9. And it held that the government can prove a

knowing departure from those objective criteria “through circumstantial evidence,”

id., just as the United States has explained it would do in this case. See D.I. 42 at

9-12.

        Walmart suggests that Justice Alito’s concurrence defines the meaning of

the “usual course” standard, but the Ruan majority did not adopt the very different,

subjective standard proposed by Justice Alito—who concurred only in the

judgment, not in the majority opinion. In particular, Justice Alito protested that

“an objective understanding of the ‘in the course of professional practice’ standard


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would suggest” a focus on whether the physician was “acting as a good physician,”

and he explained that he instead would have adopted a subjective standard focused

on whether a doctor “acts in subjective good faith” or is motivated by “[o]bjectives

… alien to medical practice.” 2022 WL 2295024, at *15 (emphasis in original).

The Ruan majority, however, did not adopt the standard urged by Justice Alito but

rather adhered to its view that the “usual course of professional practice” and

“legitimate medical purpose” requirements establish “objective criteria.” Id. at *9.

      Under the standard set forth by the Ruan majority, the Complaint’s

dispensing-related claims are soundly stated. The Complaint alleges that Walmart

knowingly filled controlled-substance prescriptions that did not meet Section

1306.04(a)’s objective criteria. And it alleges that Walmart pharmacists violated

Section 1306.06’s objective “usual course of … professional practice” standard

because their conduct in filling controlled-substance prescriptions failed to comply

with basic standards of the pharmacy profession.

      In any event, the United States requests an opportunity to amend its

Complaint for several purposes, including to add factual allegations that further

demonstrate Walmart’s liability under Sections 1306.04 and 1306.06 consistent

with the clarifications provided by the Supreme Court in Ruan. The United States

submits that it would be more efficient for the parties to address the potential effect

of Ruan, and for the Court to consider Walmart’s arguments in support of its


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motion to dismiss, after the United States has had an opportunity to amend its

complaint, if permitted to do so. The United States respectfully submits that the

schedule Walmart proposes with respect to potential amendment of the Complaint

is too compressed given the scope of the Complaint’s allegations. The United

States proposes that the Court enter an order as follows:

        1. Within forty-five days of the Court’s entry of the order, the United

           States will share a draft of its proposed Amended Complaint with

           Walmart;

        2. Once the United States shares a draft of its proposed Amended

           Complaint, the parties shall have fourteen days to meet and confer on

           whether Walmart will provide written consent to its filing under Fed. R.

           Civ. P. 15(a)(2);

        3. Within five days of the conclusion of the parties’ meet and confer, if

           Walmart declines to provide written consent to the amendment, the

           United States shall file a motion for leave to amend its Complaint.

II.   Other Issues

      As part of the meet-and-confer in advance of this Joint Status Report, the

United States informed Walmart that it intends to seek relief from the Court to

permit it to access the documents that Walmart has produced into the repository of

documents in In Re National Prescription Opiate Litig., Case No. 1:17-md-02804-


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DAP (N.D. Ohio) (the “MDL materials”), pursuant to the terms of the protective

order in that case.

      A.     Walmart’s Position

      Walmart objects to the United States’ inappropriate and premature attempt

to access the MDL materials given Walmart’s pending Motion to Dismiss and the

United States’ stated intention to seek leave to file an amended Complaint.

      The Federal Rules of Civil Procedure are clear: “A party may not seek

discovery from any source before the parties have conferred as required by Rule

26(f) . . . .” Fed. R. Civ. P. 26(d)(1) (emphasis added). Further, the scope of

discovery necessarily depends on the existence and nature of any legally viable

claims before the Court in Delaware. Given Walmart’s pending Motion to Dismiss

and the United States’ desire to amend its Complaint, the existence of any legally

viable claims—and therefore the scope of discovery—remains disputed.

      Walmart therefore respectfully requests that the Court prohibit the United

States from accessing the MDL materials in connection with this case until

discovery has opened following the parties’ Rule 26(f) conference. Walmart

requests the opportunity to provide additional argument in support of its position

when the United States formally raises the issue with the Court.




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      B.     The United States’ Position

      The United States disagrees with Walmart’s position that accessing the

MDL materials is “seek[ing] discovery” within the meaning of Fed. R. Civ. P.

26(d)(1). As made clear in case law and the history of Rule 26, the limitation on

“discovery” in Rule 26(d)(1) limits the use of the various enforceable discovery

devices identified in the Federal Rules of Civil Procedure, and accessing the MDL

materials does not require the United States to use any of those devices or place

any burden on Walmart. To gain access to the MDL materials, the United States

simply needs to sign a certification in the protective order governing those

materials, which are maintained by a third-party vendor. The Judicial Panel on

Multidistrict Litigation recently stated that there is “no reason why the parties in

subsequent actions [outside of the MDL], subject to the same conditions imposed

on the parties to MDL No. 2804, should not be able to avail themselves of the

documents and depositions accumulated in this MDL.” See In re Nat’l Prescription

Opiate Litig., Case No. MSN/3:21-cv-00246, No. 39, at 2 (J.P.M.L. April 8, 2022).

      Moreover, even if Rule 26(d)(1) did apply to accessing the MDL materials,

it would be fair and appropriate for the Court to permit the United States to access

the materials at this time. Walmart itself—along with thousands of other litigants

both within and outside of the MDL—has unfettered access to the entire

repository, including tens of thousands of documents produced by the United


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States. Equal access by the United States to the MDL materials now that this case

is unstayed would be consistent with the purpose of the repository, namely to

create efficiencies in opioid-related cases without causing burden or prejudice to

the parties in those cases.

      The United States will follow the Court’s procedures to raise this dispute

and respectfully offer further argument in support of its position through those

procedures.



Dated: July 11, 2022

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